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                                       IN THE DISTRICT mURT oF THE UNITED STATES

CHRIS10PHER ROBERT WEAST,                              )
       Petitioner,                                     )
                                                       )
v.                                                     ) No. 4:17-CV-802-A
                                                       )
UNITED STATES OF AMERICA,                              )
       Respondent.                                     )



                                         : ':REPLy;, 1'0   GOVERNMENT 1 S RESPONSE




                                                                        Respectfully Submitted,

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                                                                        Federal COrrectional InstiLution
                                                                        P.O. Box 5000
                                                                        Bruceton Mills, West Virginia 26525




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                      _PErn!ONER' S RESPONSE PERTAINING TO GROUND .ONE

 The Court should Grant Petitioner's Motion because Petitioner did in fact receive

 ineffective assistance of counsel as explained below or in the alternative, the

 Court should grant Petitioner an Evidentiary bearing to enlarge the record and

 determine the facts of Petitioner's allegations regarding counsel's ineffective

 assitance.


                             .~etitioner's Ground ~~Resp_~~e

 On page 8 of the Goverrunent' s response, the Government points to Petitioner's mis-

 take Wherein Petitioner mistakenly referred to the Third superseding indictment

when in fact the one     .and~only   plea offer that was made by the Government was made

 on   tb~   original indictment which the Government seems to have forgotten in their

response. Petitioner was originally charged under 18 USC § 2252(a)(4)(B), Possess-.

ion of a VisuaLDepiction of Sexually Explicit Conduct which ca=ied a maximum

sentence of 10 years. Petitioner was a=e.sted on February 21, 2014, held in Parker

County jail for three and half weeks, transfe=ed to Palo Pinto County where Pet'-

ioner was held for another three and l:ialf weeks, while at Palo Pinto County jail,

Counsel made one visit to see Petitioner on or about March 13, 2014 to March 31,

2014. Ori:er a1xJut::April .J,o2014.to:April 10,2014, Petitioner was trasfered to FCI

Fort Worth wherein Petitioner received the second visit from Counsel. It was driring

one2eLthos.estwo::;meetings wherein Counsel mentioned that the Government bad made

an offer of 10 years. Petitioner asked Counsel what the maxiiiiUIIl amount of time was

that he could receive under the indictment, to which Counsel responded, "the max-

iiiiUIIl sentence you can receive is 10 years."    Petitioner then asked Counsel why he

would take a 10 year plea if the plea was for the maximum sentence he could receive

foi: ·tha_eharge. Counsel never alluded to guidelines and the fact that Petitioner

would have faced a substantially lower sentence due to the fact that Petitioner

had no criminal history nor did Counsel explain that by pleading, Petitioner would


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 also qualify for a 3-point reduction for acceptance of responsiblity on the guide-
 lines table which would have limited Petitioner's sentencing exposure further.
 Counsel's failure to advise Petitioner that she could abo seek an ll(c)l(c) binding
 plea agreement was ineffective assitance. By failing to advise Petitioner of the
 "bare minimum" required of Federal Public Defenders, Petitioner's decision to proceed
 to trial was not based on sound advice of competent legal counsel. Had Counsel advised
 Petitioner of the foregoing guidelines table, 3-point acceptance of responsiblity
 and availability of 11(c)(1)(c) binding pleas, Petitioner would have plead guilty
 and taken the plea. Furthermore, the government's contention that there is no proof
on the record that the court would have been willing to accept a plea is rebutted
by the very record itself. Also, the Government's contention that Petitioner's alleged
"obstructive conduct, statements, and filings throughout the criminal case demonstrate
conclusively that he had no intention to plead guilty," is rebutted by the same con-
versation of the trial, On page 6 of 22 of the Trial transcript, Doc. 306, Lines 9-
19, the following colloquy took place:
      Ms. Saad: Your Honor, there seems to be an indication that there might be a
                possible plea as opposed to a trial, and he would like to meet with
                us to talk about that.
      The Court: Okay. We'll take a-- let's assume there was a plea. It would have
                 be without a plea agreement. It would be to all counts of the
                 indictment.
                 Let's assume there was. How long would it take to prepare a factual
                 resume?
      Ms. Saleem: Approximately 30 minutes we should be able to do that.
      The Court: Okay. We've got a jury panel waiting. So let's don't waste time.
                 I'll give you ten minutes to go down and talk to him.
      Ms. Saad: Yes, Your Honor.
      The Court: We'll take a recess for ten minutes. Why don't you put in motion
                 getting a factual resume prepared in case that is what he decides
                 to do.
      Ms. Saleem: Yes, Your Honor.
This colloquy is conclusive proof that the Court as well as the Prosecutor, were


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 indeed, willing to accept a plea as well as proving beyond doubt that Petitioner
 was, indeed ready to plead to the charge because there very request to speak about
 a plea goes to the intent of Petitioner. Therefore, due to      Counsel's ineffective
 assitance in failing to advise Petitioner on the guidelines table when the Government
 originally offered the   10~year   plea deal; different plea agreements available to
 Petitioner, and the 3-point acceptance of responsibility, Petitioner was prejudiced
because Petioner would have taken the 10-year plea agreement had he been adVised
about these benefits prior to turning said offer down because. he was advised, albeit
incorrectly, that the deal was for the maximum amount of time Petitioner faced at the
 time of the plea offer. Furthermore, Counsel was ineffective in failing to object to
the Judge's participation in the plea process wherein the Judge stated that any plea
would.have to be without a plea and a plea to all counts of the indictment.


The government makes repeated mention of Petitioner's alleged disruptive conduct
however, Petitioner points to the definition listed in Black's Law dictionary, 9th
Edition, page 271, "Disruptive Conduct" which is listed under Conduct.states:
      disruptive conduct. (1959) Disorderly conduct in the context of a governmental
      proceeding. See CONTEMPT.
      disorderly conduct. (17c) Behavior that tends to disturb the pt;blic peace,
      offend public morals, or undermine public safety.·· SEE BREACH OF THE PEACE.
Furthermore, Petitioner points to the definition found in Wharton's Criminal Law's
for "disorderly conduct." The definition states:
      Disorderly conduct. Fighting or violent or disruptive behavior; making loud
      or unreasonable noise; using offensive, abusive, obscene language, or making
      an obscene gesture." Charles E. Torcia, 4 Wharton's Criminal law 505 (15th ed.
      2006).
According to the above mentioned definitions, Petitioner's behavior and/or conduct
was not disorderly nor disruptive. Petitioner never once fought nor was violent.
Petitioner did not make loud or unreasonable noise, use offensive, abusive, obscene.
language, or make obscene gestures while in the courtroom. Petitioner was accused
of being disruptive and disorderly when he simply attemted to ask the Court questions

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 The Government contends, although incorrectly, that voir dire was not closed
 to the public and therefore, Petitioner is not entitled to relief due to Counsel's
 failure to object at the trial level as well as Counsel's failure to include
 the complete closure in direct appeal on petitioner's behalf.   However, Petitioner
 maintains, as a matter of fact, that if unsealed, the transcript from the voir
 dire would, in fact, show that the Honorable John McBryde told Petitioner's
 family as well as all other spectators in the court to step outside because
 the Court needed the space for the jury pool.   This was an ·affirmative act by
 the trial court meant to exclude persons from the courtroom. United States v.
                                                                                       \
Al-Smadi, 15 F.3d 153, 155(10th Cir. 1994). Futhermore, "where a district court
affirmatively decides to close a trial to the public, the Supreme Court requires
 the.district court to follow procedures to ensure the balancing of interests.
A complete closure of proceedings is only justified where: (1) the party seeking
to close the trial advances an overriding interest that is likely to be pre-
judiced; (2) the closure is no broader than necessary to protect that interest;
(3) the trial court has considered reasonable alternatives to closure; and (4)
the court makes findings adequate to support the closure. Waller v. Georgia,
467 U.S. 39, 104 S.Ct. 2210, 2216, 81 L. Ed. 2d 31(1984). In the instant case,
Judge McBryde did not hold a Waller test hearing before closing the voir dire
claiming "insufficient seating for spectators and family members. Without first
seeing the voir dire transcript, Petitioner can only speculate that Judge McBryde
stated that this closure would be temporary which might explain Petitioner's
Counsel's failure to object to such a closing.   However, Petitioner's family's
recently filed Affidavits of Facts serves as evidence that the courtroom was
indeed closed completely for the entirety of the voir dire and jury selection
process due to the fact that the United States marshals were actively preventing
Petitioner's family as well as anyone else from the public or press from entering
the courtroom by telling them the courtroom was closed and noone was allowed

in while jury selection was in progress.
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 The Sixth Amendment provides that "in all criminal prosecutions, the accused
 shall enjoy the right to a ... public trial." U.S. Cons t. amend. VI. The supreme
 court has held that this public-trial right extends to voir dire. Presley v.
 Georgia, 558 U.S. 209, 213, 130 S.Ct. 721, 724, 175 L. Ed. 2d 675(2010). Pet7
 itioner cannot attest to knowledge of the judge, his Counesl or even the Gov-
 ernment, in regards to the fact that there was a full closure of the voir dire
which was caused by the United States marshals actively denying access to the
courtroom throughout the entirety of the voir dire and jury selection process
in the instant case, however, even if the courtroom was closed because of in-
attention by the judge, courts have expressed concern in the past where a court
officer's unauthorized closure of a courtroom impeded public access.     That the
courtroom closure was the result of inaction by tpe judge,. rather than an aff-
irmative order, is not dispositive. (Whether the closure was intentional or
inadvertent is constitutionally irrelevent.")(quoting Walton v. Briley, 361 F
.3d 431, 433(7th Cir. 2004). What matters is that the public was barred. (citing
Martineau v. Perrin, 601 F.2d 1196, 1200(1st Cir. 1979), for the proposition
that the Sixth Amendment is implicated when marshals lock a courtroom without
authorization).   ~~BS   v. United States, 483 F.3d 48(1st Cir. 2007). The original

order for the closure in the instant case came from the McBryde and then was
continued, either with or without McBryde's knowledge, by the United States marshals
when the marshals kept the courtroom doors locked and barred access to Petitione~'s
family as well as the public in general.    Petitioner has made an attempt to unseal
the voir dire transcript on or about January - July of_ 2015.    In Waller, over
the defendant's objection, the court granted the motion and the court excluded
the public from the courtroom for seven days while it conducted a hearing on the
motion to suppress. In the instant case, there was no motion by any party, to
close the courtroom, the courtroom was closed by McBryde for seating purposes
of the jury panel. Counsel was either ineffective in failing to object to the

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 closure of the courtroom due to the fact that there were plenty of seats available
 even after the jury pool entered the courtroom and was seated. Petitioner estimates
 that there were at least 20 seats still available after the jury pool was seated,
 not including the seats available in the jury box or counsel was unaware of the
 full closure because counsel was unaware of the fact that the United States marshals
 barring access to the courtroom. Futhermore, Counsel either rendered ineffective
 assistance by failing to bring the issue of full closure up on.. Petitioner's direct
 appeal or didn't. believe court had been closed l::e:ause court   had sealed the tran-
 script for the voir dire. Petitioner's sister, at the request of Petitioner, had
 informed Appellate Counsel that there had been a closure but Counsel still failed
 to argue the complete closure on direct appeal, thereby rendering ineffective
assitance of counsel. Had Counsel objected at the trial level, and then      subse~

quently brought the voir closure facts on direct appeal, Petitioner's conviction
would have already been vacated and remanded for a new trial due to the full
closure because.prejudiced is presumed and the error, being structural in nature,
isn't treated as harmless by the courts. "Wrongful deprivation of the right to
                 I
a public trial has been repeatedly characterized as structural error by the
United States supreme court. United States v. Marcus, 87 CrL (U.S. 2010),
United States v. Gonzalez-Lopez, 548 U.S. 140, 79 CrL 391 (2006), and Neder v.
United States, 527 U.S. 1, 65 CrL 275 (1999).
Moreover, a defendant need not prove specific prejudice to obtain relief when
the error is structural. Nor does the defendant waive the right to a public trial
by failing to object at the time. "Violation of the public trial right, even when
not preserved by objection, is presumed prejudicial to the defendant on direct
appeal." United States v. Gupta, 699 F.3d 682, 687-88(2d Cir. 2011); United
States v. Waters, 627 F.3d 345, 361(9th Cir. 2010); United States v. Agosto-
Vega, 617 F.3d 541, 547-48(1st Cir. 2010); State v. Wise, 176 Wn.2d 1, 288 P.3d
1113, 1118 (Wash. 2012)(en bane).

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       "Complete exclusion of the public from jury selection infringed Petitioner's
 Six Amendment rights because closure of the courtroom during entirety of voir
 dire was a plain and obvious error that, as a structural error, effected defen-
 dant's substantial rights and seriously impared the Fairness, integrity, or
 public reputation of the proceedings." United States of America v. Negron-Sostre,
 790 F.3d 295(1st Cir. 2015), On Doc. 306, Page 16, Lines 16-23, the following
 colloquy took place:
     The Court: Mr. Weast, I'm sure.you can hear me. So I'm advising you at
 this time to tell me whatever it is that you indicated to your attorney or
attorneys that you want to tell me.
     ill of you leave the courtroom so we' 11 have room for the jury selection.

     The MARSHAL: All of you need to get up and leave the courtroom.
The Court alleged that there was insufficient room in the courtroom for the
public, yet, on Doc. 306, Page 21, Lines 12-25, the Court clearly had room to
allow government witnesses as well as other Federal Public Defenders who wished
to observe the voir dire when the following colloquy took place:
     THE COURT: Okay. You can move your chairs on this side of the tables if
you would like, and we'll have the jury panel come in.
     MS. SALEEM: And, Your Honor, also for claification, Special Agent Womble
is the case agent. So we're asking that, even though he is under the rule, that
he would be permitted to be in the courtroom.
     THE COURT: I excuse him from the rule.
     MS. SALEEM: Thank you.
     MR. CURTIS: Your Honor, Erin Brennan, an attorney from our office, would
like to observe selection. Is that possible?
     THE COURT: That's fine. Does she want to come sit up here on this side?
Petitioner was able to see into the courtroom via the video monitor which was
setup for him to view the courtroom. Petitioner could see that, after the jury
panel was seated, there were plenty of seats available for Petitioner's family
members as well as other members of the public, yet the judge chose to have

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 an in camera voir dire which excluded the Petitioner's family, the public and
 all members of the public. If Petitioner's Counsel was aware of the complete
 closure of the courtroom, Counsel was ineffective in their assistance by failing
 to object to a complete closure that had not been put to a Waller test. Further-
 more, Counsel's assistance was .ineffective by failing to bring the complete
 closure of voir dire as an issue on direct appeal for Petitioner. However, if
 Petitioner's Counsel was unaware of the complete closure, due to the fact that
 the closure was effected by the United States Marshals who refused access to the
 court whenever any member of the Petitioner's family attempted to enter the
 courtroom as well as any general member of the public and agents of the government,
 in their official capacity, such as Agent Womble nor members of the Federal
 Pubiic Defender's Office, in their official capa~ity, qualify as members of the
public. This Court should hold an evidentiary hearing to determine whether or
not Petitioner's Counsel was, in fact, aware of the complete closure of the .
courtroom. If Counsel.was; in·fact,·aware of the complete closure, this Court
should grant Petitioner's motion.·to vacate in. the interest of justice and the
principles of law. However, if Counsel was, in fact, unaware of the complete
closure, this Court should summarily Grant Petitioner's motion to vacate since
Petitioner has met the prongs of Strickland v. Washington by showing that there
was a clear error comitted by completely closing the voir dire for the entirety
of the voir dire and jury selection process and that such an error is, in fact,
a structural error which does not require the Petitioner to show how he was pre-
judiced by that complete closure under Waller v. Georgia, 467 U.S. 39, 104 S.Ct.
2210, 2216, 81 L.Ed.2d 31(1984). Contrary to the Government's claim that the Court
sealed the voir dire due to Petitioner's filing claims of damages and the gov-
ernments fraudulent lies concerning Petitioner allegedly requesting identifying
information, this Court did. not. seal the voir dire transcripts nor make a ruling,
that the Petitioner ever received notice of, that the voir dire transcripts were


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 due to any action taken by the Petitioner. Petitioner did.not file the form re-
 questing the voir dire transcript which would fly in the face of the Government's
 outrageous claim that the Court sealed the voir dire due to actions of the Pet-
 itioner. The record doesn't support the Government's outrageous claim that this
 Court sealed voir dire for reasons related to. the Petitioner since He never once
 requested the transcript for the voir dire. Futhermore, this Court never made any
 ruling, that Petitioner is aware of, concerning a need "to protect personal info-
 mation of the jurors who served in the trial [and those] who served on the panel
 from which the jury was selected." The Government makes obsurb claims of a "pattern
 of filing frivolous claims" but fails to point to even one such "well documented"
 instance of a ''frivolous claim filed by Petitioner in the instant case. The Gov-
 ernment must be speaking of the claims in which it has repeatedly chosen to call
frivolous, Petitioner's claims of fraud upon the court, by calling such claims
frivolous, such as Petitioner's claim that of outright forgery on government doc-
uments by the government thereby placing the. Petitioner in the position of a
surety which has damaged Petitioner irreparably.

                              FIVE lEVEL ENHANCEMENT


     The Government again fails to comprehend the Petitioner's claim regarding
counsel's ineffective assistance by failing to argue the inapplicability of USSG
§ 2G2.2(b)(3)(B). Cousel did in fact argue that the enhancement under USSG 2G2.2

(b)(3)(B) did not apply in the instant case under the Spriggs Court determination
that even where there is distribution, it nonetheless concluded that the district
court erred in applying the five level increase because there was no evidence that
there was a transaction (i.e .. exchanging child pornography with another user) for
"a thing of value." United States v. Spriggs, 666 F.3d 1284, 1286(11th Cir!.i 2012).
However, on appeal, Counsel failed to mention this same error, which would have
proven to be an error made by the court in applying the five level increase in
the instant case because there was no evidence of a "transaction" (i.e., exchanging
child pornography with another user). Had Counsel made the requisite argument

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 concerning the lack of the transaction, on appeal for the Petitioner, the court
would have agreed under Spriggs, that Petitioner's case showed no evidence of a
"transaction" to support the finding of "trading for a thing of value" and would
have vacated Petitioner's sentence for resentencing without the five-point increase.
The failure to argue said five-point enhancement under USSG 2G2.2(b)(3)(B) is
ineffective assistance of counsel when the outcome of the sentencing would have
been a lesser sentence had it been mentioned on appeal. Futhermore, the Sprigg's
court explained that the guidelines contemplate a transaction conducted for
valuable consideration, not free access, to receive the five-level increase in
§ 2G2.2(b)(3)(B), United States v. Spriggs, 666 F.3d 1284, 1286 (11th Cir. 2012).

Therefore, Petitioner's Counsel was, indeed, ineffective in his assistance as
Counsel by failing to argue the Five-level Enhancement under USSG 2G2.2(b)(3)(B)
because had Counsel argued the error on appeal, the court would have vacated
Petitioner's sentence based on said error.

                       INEFFECTIVE ASSISTANCE OF COUNSEL
           FAILURE TO OBJECT TO LIMITED QUESTIONING OF EXPERT WITNESS

     Petitioner again points to the Government's obvious misunderstanding of the
issue for which Petitioner is actually bringing in his motion. Petitioner isn't
attempting to relitigate the court's error in refusing to allow defense counsel
to question the defense's computer expert regarding possible viruses on his computer,
rather, Petitioner's claim is that defense counsel was ineffective in his assistance
as counsel by failing to object to the denial of a defense by the court when the
court refused to allow counsel to ask the defense's expert witness questions re-
garding the multiple viruses as well as malware which were found on Petitioner's
computer and were plausibly the explanation for where the child pornography had
come from which was found on petitioner's computer. Looking at the transcript
from the trial, one can see that the court did not understand the
difference between altered images and hacking/remote access to a

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vulnerable computer. On document 315, page 115 of 179, lines 1 through

25 shows that the court did not understand the difference between

altered images and hacking/remote access via viruses and malware,

as well as the courts denial of petitioner~s defense and counsel's

failure to object to the denial as shown in the following colloquy:

    The Court: Okay. I'll give you four or five questions on that,

                 and that will be the end of it.

    Mrc Curtis: Let me be sure I'm clear on the second. I'm allowed

                  to ask   him~ifJthese   images could be altered? Is

                  that what I'm allowed to ask?

    The Court: Not these images, can images on computers be altered.

    'Mr. Curtis: Okay.

    The Court: Isn't that the same as hacking? Aren't we talking

                 about the same subject?

    Mr. Curtis: No. Hacking and remote access would be getting into

                  his computer and actually downloading.

    The Court: Okay. Then let's don't get into this business about

                the photo thing. We've already heard all we want to

                hear about that.

    Mr. Curtis: But I can ask him about whether images that are

                 digitally stored can be altered?

    The Court: Yes, I'm talking about four or five questions on

                each subject, and that's it.

    Mr. Curtis: Okay. Okay. All right. Thank you, your honor. I

                 was thinking if I needed to put an objection --

   The Reporter: Mr. Curtis

    Mr. Curtis: I'm sorry. I was considering whether I need to --

    The Court: What you put of record Friday, the          things you want


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 to ask him, and I'm telling you, you can't ask him any of those

 things, except what I've told you.


      As the record reflects, Mr. Curtis did not actually place an

objection on the record when the court was denying the defendant's

Sixth Amendment right to present a defense. The Fifth Circuit even

stated in their opinion that the failure to object to the limited

questioning of the defense's expert witness only allowed for plain

error review instead of the standard of review which is used when

an objection has been placed at the time of the         e~ror   and preserved

the error for review by the appellate courts. If counsel had indeed

objected to the denial of the right to a self defense, _and          sub~~~

sequently filed a motion for a new trial, petitioner would have been

granted a new trial based on the fact that the court had, indeed

denied the Defendant the Sixth     Amendm~nt ~ight     to a defense since

Petitioner's entire defense was predicated on the fact that someone

other than Petitioner, had managed to either hack or gain remote

access to his computer and thus, downloaded the images of child

pornography onto the laptop. Therefore, the.court should grant pet-

itioner's writ of habeas corpus in the nature of a motion to vacate,

set aside, or correct a sentence.due to the ineffective assistance

of counsel by failing to object to the denial of the Sixth Amendment

right to a defense when the court specifically stated that counseL

could not question the defense's expert regarding the multiple viruses

and malware found on the defendant's computer which could have been

used as a means of hacking and/or remotely accessing Petitioner's

laptop and downloading the child pornography which was found on the

laptop and external hard-drive.


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Counsel ,.was ineffective in failing to point to. the evidence that was provided
 the government which showed that Petitioner's computer had approximately (12)
 twelve viruses and malware vulnerabilities on the computer which could very
easily be used to hack or remotely access and take control of the Petitioner's
computer without his knowledge. Counsel was clearly ineffective when, as
the fifth circuit points out in their ruling on this case, "we review for
plain error only," because had counsel not failed to object, the appellate
court would have used the de novo standard in order to determine if Petitioner
had been denied his Sixth Amendment right to present a defense. Therefore, the
court should vacate, set aside Petitioner's conviction in the interest of justice
and to prevent a manifest injustice from standing in Petitioner's case because
contrary to the opinion isSUEd in this case, G:unsel had not caJered tiE tq:>ics of tiE
viruses and malWJre v.hiCh were located en Petiticner' s carp_1ter during qJeStirning of tiE goverrtiEl1t 's
eq::ert witness. The cart sh::>uld grant all otl:Er ffjllitable relief cleensd just and rroper.

  Failure to Object to Draconian Sentencing or Mention on Direct Appeal

     The government maintains that the record proves that after the sentence was
imposed, "Weast's counsel object[ed] to the sentence as procedurally and sub-
stantively unreasonable for reasons set forth in [counsel's] objections and [in
oral argument at sentencing.] The government is correct in.their assesment that
counsel objected to the sentence as procedurally and substantively unreasonable "for
the reasons set forth in my objections and argued here today." However, Counsel's
objection was based on his objections to the presentence report and was not an
objection based on the fact that sentence went far overboard due to the sentence
disparities in child pornography cases which, by receiving (30) thirty year
sentence, Petitioner was punished far more severely than child rapists. Counsel
failed to object based on the fact the sentence could not be located within the
permissible decisions and therefore was "substantively unreasonable" since
Petitioner's case did not involve being charged with, nor convicted of, "contact
offenses." As the Second Circuit pointed out, "Lower courts need to be mindful of
sentencing disparities in child pornography cases." United States v. Jenkins, "
2017 BL 124267, 2d Cir. No. 14-4295-cr, 4/17/17. In the Jenkins, Jenkins was
sentenced to 19 years in prison·,,followed by 25 years of supervised release. In
the instance case, Petitioner was sentenced to 240



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 months for the receipt charge and 120 months for the possession-only offense
 which were then ran consecutively in order to punish petitioner even further.
 Counsel failed to object that the sentence was substantively unreasonable due
 to the fact that at the end of the 360 months of inprisonment, Petitioner would
 be age 70 and 75 by the end of the 5 years supervised release. Petitioner's
 counsel then failed to include the argument and/or objection to the sentencing
 for the foregoing reasons mention herein during petitioner's appeal which further
prejudiced petitioner by not having the issue reviewed by the Circuit Court of
Appeals for the Fifth Circuit. The fact that petitioner's counsel objected due
 to the sentence as procedurally and substantively unreasonable "for the reasons
set forth in my objects [to the PSR] and argued here today," does not excuse
counsel from the duty of objecting to the sentence as procedurally and sub-
stantively unreasonable for the shear fact that the sentence punishes petitioner
for a "possession-only" offense more severely than "contact" offenses that in-
volve unlawful physical contact with minors and/or child. rapists. Therefore,
by failing to object and preserve this error for review and then failing to bring
this issue for review in petitioner's direct appeal, petitioner was prejudiced
by counsel's ineffectiveness and this court should vacate, set aside, or correct
the petitioner's sentence in the interest of justice or in the alternative, the
court should order an evidentiary hearing.


                  Failing to Investigate Competency to Proceed

     The government claims that because the court ordered a competency hearing
prior to trial, at the government's request, that petitioner's cousel should be
excused from investigating petitioner's competency to stand trial even though
petitioner had repeatedly stated that he did not understand the nature and cause
of the charges. There are multiple instances of Petitioner's inability to under-·
stand the nature and cause of the charges he was facing. The following colloquys
show undisputed fact from the record and transcripts that petitioner did not
understand the nature and cause of the charges. The first colloquy starts on page
7 of 22 of Doc. 108:
    The Court: Okay. Do you understand those things, Mr. Weast?
    The Defendant: No, sir. If I could, I would like to ask some questions
                   so I could understand more clearly.
    The Court: Okay. Listen Closely. I noticed you're reading something as he's
               talking, so listen closely.
                So far he's explained that under th~~superseding __ Mr. Weast,
                                                                                 15
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 come back up to the microphone, so I can see that you're listening instead of
 reading ..
 So far he's explained that your -- under the superseding indictment, if you were
 to be convicted of these offenses, you would be subject to a term of imprisonment
 of 30 years; plus, you would be subject to having to pay a fine of a total of
 $500,000; plus, you would be subject to service of -- being supervised for the
 rest of your life.
 Now, do you understand those are the penalties you are subjecting yourself to,
 if
        The Defendant: I --
      The Court:-- you're convicted of the offenses charged by Counts 1 and 2
 of the superseding indictment?
        The Defendant: Your honor, am I entitled to a -- to a fair hearing in this
      courtroom?
        The Court: I'm simply asking if you understand that.
        The Defendant: I'm asking if I'm entitled to a fair hearing.
        The Court: Yes, you're entitled to a fair hearing, but --
        The Defendant: Okay. I
        The Court: -- at this time, we're going to --
        The Defendant: May I ask one more question?
        The Court: Yes. You're entitled to--
        The Defendant: Am I presumed innocent of these charges, sir?
        The Court: Yes, you're presumed innocent of these charges.
        The Defendant: Am I --
        The Court: Now, that's the last-- that's the last interruption I want to
                   have from you.
        The Defendant: I'm not trying to interrupt, sir. I'm just trying to
                       understand.
        The Court: You are interrupting, and I don't want anymore interruptions.
                   And I'm going to ask you again: Do you understand--
        The Defendant: No, sir, I do not understand what     because I'm not under-
                       standing if I'm presumed innocent of all of the elements
                       of those charges.
And again on Doc. 110, Page 26 of 49, the following colloquy took place:
        The Court: Okay. Do you have anything else, Mr. Weast, you wish to ask him?
        The Defendant: Like I said, I'm-- I don't even understand why we're here.
                       Why are we here, sir? Because I'm sitting here in a room
                       away from the courtroom, and you're having this mock thing
                       that you've got going here. I move to ~- for you to recuse
                       yourself, Judge, because you are clearly biased in these
                       ~atters, and you've proven that by practicing law from the
                       :::-::-:-:.

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                     bench, and you're the one that said to the -- I'm not sure
                     who it was because Aisha Saleem did not show up for the govern-
                     ment that, but you're the one that put the thought in his head
                     to file this motion for a competency hearing.
                     And I move that you --, sir, need to take yourself off this case
                     because you're clearly biased and emphatic because you have
                     done nothing but --whenever Aisha Saleem filed for the govern-
                     ment, you ruled on this motion way before I had a chance to
                     even put in a response to it as we, the people, as we the sov-
                     ereign people sitting right here, I'm sorry if it doesn't bode
                     well with all the people that .. are sitting here from the Brittish
                     government, but that is the way it goes here .in the United States.
                     We are sovereign as --as of the Treaty of Peace 1783, no I'm
                     not sure What we're doing here.
And again on Doc. 110, page 38 of 49, the following cooloquy took place:
     The Defendant: How am I being disruptive, sir? Because I am.asking questions?
"We uphold a guilty plea on habeas review when it is entered knowingly, voluntarily,
and intelligently-that is, when the defendant understands the charge and it's con-
sequences. 'A guilty plea. is invalid if the defendant does not understand the
nature of the constitutional protection that he is waiving or if he has such an
incomplete understanding of the charges against him that his plea cannot stand as
an admission of guilt. A defendant understands the consequences of his guilty
plea with respect to sentencing if he knows 'the maximum prison term and fine
for the offense charge.'" Trotter v. Vannoy, 2017 U.S. App. LEXIS 10146(5th Cir.
2017). In this case, the Petitioner maintains that he did not understand how [he]
went from facing a maximum sentence of (10) ten years to a maximum sentence of (30)
thirty years, therefore Petitioner did not understand the consequences of going
to trial. Trotter v. Vannoy proves that a defendant who is pleading guilty is
afforded the right to understand the consequences of pleading guilty, therefore,
a defendant who goes to trial has at least an equal right to to be informed of,
and understand the consequences of a going to trial with regards to how much
time he potentially faces as well as having counsel advise defendant of how they
went from facing a maximum of (10) ten years to facing a maximum of (30) thirty
years. The record clearly shows, as stated above, that the Petitioner did not
understand or comprehend the nature of the offense nor the maximum amount of
time or maximum fine involved. Therefore, the court should vacate, set aside, or
correct the sentence in this case to prevent a manifest injustice from standing
without a remedy and all other equitable remedies which this court deems just
and proper.




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                       Refusing to Allow Attorneys to Withdraw
      In ground five, the government points to the record which the government
claims shows that counsel attempted to withdraw based on Weast's repeated re-
quests to engage in self-representation, which the court denied [in a thorough
and detailed order after it conducted numerous hearings on the matter.]
Petitioner did not request to represent himself. Petitioner fired counsel in a
letter sent both to the court as well as to counsel and demanded that he be allowed
to present himself without counsel. The court plainly erred in refusing to allow
petitioner to represent himself and "forcing a lawyer upon the defendant."
Petitioner points to the supreme court of the united states opinion which
states, "the court recognized that the Sixth Amendment right to the assistance
of counsel implicitly embodies a 'correlative right to dispense with a lawyer's
help." Adams v. United States ex rel. McCann, 317 US 269, 279, 87 L. Ed. 268,
63 S. Ct. 236, 143 ALR 435. Petitioner cannot find, within the record itself,
a single instance of an agreement which was made competently and intelligently
by Petitioner and the court, that petitioner waived his constitutional right
to conduct his own defense through presenting himself and his case. The court
in the Adams case did recognize, albeit in dictum, an affirmative right of
self-representation. "The right to assistance of counsel and the correlative
right to dispense with a lawyer's help are not legal formalisms. The rest on
considerations that go to the substance of an accused's position before the
law .... "
      " ... What were contrived as protections for the accused should not be
turned into fetters .... To deny an accused a choice of procedure in cir-
cumstances in which he, though a layman, is as capable as any lawyer of
making an intelligent choice, is to impair the worth of great constitutional
safeguards by treating them as empty verbalisms." Adams v. United States ex
rel. McCann, 317 US 269, 87 L.Ed. 268, 63 S.Ct. 236, 143 ALR 435.
      The government does not point to any part of the record showing that
petitioner knowingly and voluntarily waived the right of self representation
nor does the government point to any portion of the record showing that pet-
itioner understood the nature of the constitutional protections [he] was
allegedly waiving. In fact, the government agrees that the record "shows that
counsel attempted to withdraw based on Weast's repeated requests to engage
in self-representation, which the court denied." In denying petitioner's request
to present [his] own case, the court also denied petitioner the sixth amend-



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ment right to not have a lawyer forced upon him as explained by the supreme
court of the united states in Adams v. United States ex rel. McCann. Futher-
more, as the Fifth circuit stated in United States v. Gunselman, 643 Fed.
Appx. 348 (5th Cir. 2016) "The defendant must understand the nature of the
constitutional protections [he] is waiving." Petitioner did not at any point
understand the nature of the constitutional protections for which the court
and the government alike, claim that petitioner waived. As a matter of fact,
the undisputed record proves that petitioner was repeatedly accused of "in-
terrupting simply because he chose to ask the court questions in an attempt
to understand what the nature of the charges was as well as the cause of the
proceedings. The record further proves that petitioner was under threat and
duress as well as being coerced by the United States Marshals who kept threatening
petitioner as well as physically assaulted petitioner while petitioner was
attempting to communicate with the court as shown on Doc. 108, Page 15 of 22:
     The Court: Well, why don't we do it 2:00 Thursday.
     The Defendant: I object to this, to this manner of -- and, Your Honor,
I would like this court to take judicial notice of the entire Constitution .
of the United States, including all of the Bill of Rights, which this court
is supposed to be upholding and protecting.
     I've been threatened by the guard standing behind me over here --
     Spectator: Yeah.
     The Defendant: -- and I take exception to be threatened by the guards
while I'm in a hearing that I'm supposed to have a right to.
     Spectator: Yeah.
     The Court: You're supposed to stand up when you're addressing the court,
Mr. Weast.
     The Defendant: I was made to sit down, sir.
The foregoing colloquy took place on lines 8 through 22 of Doc. 108, Page 15
of 22 and shows undisputable proof that petitioner was being threatened,
coerced and was under threat and duress during the Motion to Subsistute Attorney.
Further proof is found in the record on Document 110, pages 4, Lines 16 through
23 wherein the following was stated by the petitioner:
     The Defendant: Sir, the first thing I'm going to ask you is if you can
                    tell your goons over here to get off my case, quit threat-
                    ening me, and quit trying to force me into doing things
                    that I don't consent to. That would be the first thing
                    that I would like to put on the record here today, is


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                     that these guys -- this guy just physically put his hands
                     on me. He has no right to do so. I do not consent to
                     anything this court is doing.
Continued on Doc. 110, Page 5 of 49, lines 23 through 25 wherein the following
took place on the record:
      (Mr. Weast beginning to stand)
     The Defendant: Tell your goon to get his hands off me, sir.
And then continued on Doc. 110, Page 6 of 49, lines 4 through 6 and 21 through
25 wherein the following took place on the record:
     The Defendant: I'd like to put this on the record, that I'm being forced
                     by this guy here.
                     What's your name, sir? What's your name?
     The Defendant:· No, we're not sir. You are here for a hearing that I am
                     being forced to be here for. I just got drug from up
                     there -- down there at the -- at this cell down here.
                     Everything in this entire matter has been forceful. I
                     have not once been here on my own accord, not once.
Again on Doc. 110, Page 7 of 49, Line 25 and then continued on Page 8, Lines
1 through 10, wherein the following colloquy took place:
     The Court: Does the marshal service have a means of gagging a defendant?
     The Defendant: What, you think that because you gag me and force me to
                     do -- into all this stuff you're trying to do, that that
                     somehow is going to give you jurisdiction over me, sir?
     The Court: Does the marshal service have a means of gagging him, so we
                 can proceed?
     Mr. Thompson: Your Honor, I'll have -- I'd have to have a discussion.
                    I'd ask that I might be able to speak with you about that
                    and perhaps recess for 10 minutes.
The foregoing portions of the transcripts of the record, show proof of the
fact that petitioner was under a constant state of threat and duress while
he was allegedly being allowed to represent himself. The marshals threatened
petitioner on numerous occassions and if petitioner needs to show those
occassions, petitioner's family can definitely write affidavits in support
of the fact that petitioner was threatened by the marshals and was in a
constant state of threat and duress which is why petitioner acted more ir-
rationally the more and more [he] was put under threat and duress. Therefore;
the court should vacate, set aside petitioner's conviction(s) due to the fact
that the judge clearly erred in denying petitioner'his right to present his
own defense as well as forcing a lawyer upon the petitioner which would be
a manifest injustice if left unchecked. Petitioner also asks the court


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to grant all other equitable relief which the court deems just and proper in
this case.

                               Double Jeopardy
      The government claims that petitioner's convictions do not violate double
jeopardy because the convictions were based on different images that " he
possessed and received on different dates." However, the government does not
take into account the fact that 2252A(a)(5)(B) does not charge possession of
a visual depiction of child pornography and instead charges possession of
material which contained an image of child pornography which would mean all
images contained on that matter (i.e. computer, external hard drive, flash
drive, CD, etc.) would account for the one single instance of possession of
material which contained an image of child pornography and not possession of
individual images possessed on allegedly different dates. The receipt charge
in this instance would also rely on the same images which were allegedly
possessed on the same matter for which both the possession and receipt relied
on in the instant case. Therefore, as the court I am sure would agree, the
possession and receipt charges do not stem from images allegedly possessed
on' different dates since possession of the matter is entirely different than
being charged with possession of the actual individual images. Quoting directly
from the Third Superseding indictment, "did knowingly possess material that
contains an image of child pornography ... " which is for the charge of 18
U.S.C. §§2252A(a)(5)(B). Under the receipt charge, the government is asking
the court to sustain a conviction for receipt based on the same images which
are part of the possession charge. The government states in their response,
that Petitioner's "claim is meritless because Weast's convictions were based
on different images that he possessed and received on different dates." Con-
trary to the government's argument however, the Fifth Circuit has "in deciding
whether an indictment is multiplicitious, we look to 'whether separate and
distinct prohibited acts, made punishable by law, have been committed.' United
States v. Shaid, 730 F.2d 225, 231(5th Cir. 1984)(quoting Bins v. United States,
331 F.2d 390, 393(5th Cir. 1964). To do so, we must first determine the allow-
able unit of prosecution, see United States, v. Reedy, 304 F.3d 358, 365 (5th
Cir. 2002)(quoting United States v. Universal C.I.T. Credit Corp., 344 U.S.
218, 221, 73 S. Ct. 227, 97 L. Ed. 260 (1952)), which is the actus reus of the
defendant, United States v. Prestenbach, 230 F.3d 780, 783 (5th Cir. 2000)."



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In the instant case, Petitioner was charged under Section 2252A(a)(5)(B)
which proscribes "knowingly possess[ing] any book, magazine, periodical, film,
videotape, computer disk, or any other material that contains an image of
child pornography .... " Petitioner was not charged for possessing the actual
images which were found on the external hard drive but instead was charged for
possess[ing] the external hard drive which contained the images. The receipt
charge stemmed from a video which was also on the external hard drive where
the images were found. In the Prestenbach case, "the Defendant was convicted
on four counts for possessing four altered money orders in a bottle, in vio-
lation of 18 U.S.C. § 494, which made it a crime to 'knowingly possess ... any
such false, forged, altered,. or counterfeited writing.' In Prestenbach, only
a single act of possession was alleged. 230 F.3d at 783. The Fifth Circuit
reversed the conviction, holding: where 'contraband is possessed at a single
place and time, there is a single act of possession and a single crime.'
'Keeping four altered money orders in a ... bottle is one action, and therefore
one crime.' Notably, however, Prestenbach also stated: had 'the government
proved separate acts leading to .•• possession of the altered money orders, it
[would be] ... a different story."'

      "Statutes punishing the possession of firearms by felons lend similar
support. Although 18 U.S.C. §922(h) punishes the 'possess[ion]' or'receipt'
of 'any firearm or ammunition' traveling through interstate commerce, the
'firearms themselves [are not] allowable units of prosecution, unless they
were received at different time and stored in separate places.' United States
v. Hodges, 628 F.2d 350, 352 (5th Cir. 1980)(emphasis added); see also United
States v. Berry, 977 F.2d 915, 920 (5th Cir. 1992)(simultaneous possession of
firearms and ammunition can sustain multiple violations of 18 U.S.C. §922 if
firearms were obtained at different times or stored in separate places).
Congress chose not to punish the "undifferentiated possession or receipt of
multiple firearms ... more severely than the possession or receipt of a single
firearm." Hodges, 628 F.2d at 352(emphasis added). But again, a defendant
could be charged with multiple violations of the statute for receipt or poss-
ession of different firearms at different time. United States v. Planck, 493 F.3d 501
504 (5th Cir. 2007).
Where a defendant has a single envelope or book or magazine containing many
images of minors engaging in sexual activity, the government often should charge
only a single count. Reedy, 304 F.3d at 367. In the instant case, Petitioner


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was charged for possessing an external hard drive which contained both the
images constituting the charge of possession in violation of 18 U.S.C. §2252A
(a)(5)(B) and a video which was found on the same external hard drive which
was then used to charge Petitioner with receipt in violation of 18 U.S.C.
2252A(a)(2)(A). The government contends that the images were possessed and
received on different dates which the government contends should, in itself,
be reason for denying Petitioner's claim of double jeopardy. However, as the
Fifth Circuit stated in United States v ... Planck as well as many other cases
from the Fifth Circuit and mentioned above, the images and video were all
found on the same external hard drive and therefore cannot sustain a conviction
of both possession and receipt. The test in the instant case isn't whether the
images were downloaded on separate dates since the possession charge relies on
the images, as a whole, possessed on the external hard drive and then allowing
the government to come in and use the same evidence which was used for the
possession of the images, individually and then charged with receipt of the
video individually, then the government would be correct in their theory of
possessing and receiving on separate dates but that is not the case in the
instant case. Therefore, this court should grant petitioner's Writ of Habeas
Corpus in the Nature of a Motion to Vacate, Set Aside, or Correct a Sentence
as well as grant all other equitable relief which the judge finds just and
proper. To let these convictions stand as separate counts would go against
the Fifth Circuit's precedents in multiple cases and would be a manifest injustice.



                                          Respectfully,



                                          B:
                                          Christopher Robert: Weast, Agent
                                          Federal Correctional Institution
                                          P.O. Box 5000
                                          Bruceton Mills, WV 26525




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Petitioner hereby invokes the prison mailbox rule and declares, certifies, and
affirms that he placed a copy of this writ of habeas corpus in the nature of
a motion to vacate, set aside, or correct a sentence, addressed to the clerk,
501 west tenth street, room 301, fort worth, texas [76102]. Petitioner certifies
that he placed a copy in the prison mailbox on January 16, 2018.

I, Christopher Robert Weast, hereby certify under penalty of perjury pursuant
to Title 28 U.S.C. §1746 the aforementioned as true and correct .

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I cerify that on January 16, 2018, I filed this response with the clerk of
court for the court of the united states. I also certify that a copy of this
reply was served on timothy w. funnell, 801 cherry street, suite 1700, fort
worth, texas [76102], by certified mail. I also certify that I dropped both
copies of this motion in the prison mailbox on January 16, 2018.




January 16, 2018                         By:~!Uu~
                                          Agent




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